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              UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION

UNITED STATES OF AMERICA             )
                                     )




V.                                   ) Case No. CR413-004
                                     )



ANTONIO RAMIREZ-CATALAN              )

                                  ORDER

      Antoinio Ramirez, a defendant in this sex-trafficking case, is

charged in two of the sixteen counts set forth in the First Superseding

Indictment (doc. 110). At his arraignment today, the Court utilized the

services of an interpreter in explaining the substance of the charges he

faces (transporting, and conspiring to transport, a person in interstate

commerce for purposes of prostitution). Ramirez' counsel waived the

formal reading of the indictment but requested that the entire indictment

be translated into Spanish so that he could furnish a copy to his client.

Counsel did not assert that his client lacked an understanding of the

charges but explained that it is his customary practice to furnish each

client with a copy of all documents in the case, and his client's inability to

speak or read English made it necessary to request a Spanish language
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version of the indictment.

     While the Court provides an interpreter in every criminal

proceeding for a defendant who lacks English language proficiency,

neither it nor the government is required to provide for the physical

translation of Court documents or discovery.      See 5 Admin. Office of the

United States Courts, Guide to Judiciary Policies and Procedures

("Guide") § 550.30 (2013) (recipients of official court documents are

responsible for translating them as necessary for that party's

understanding of the document); United States v. Fabela, 256 F. App'x 12,

14 (8th Cir. 2007) ("We also reject out of hand [defendant]!s pure policy

claim that 'District Courts should require U.S. Attorneys to reasonably

translate indictments and documents into Spanish."); see also Guide §

550.20.40 ("Translations and transcriptions are not within the scope of

the Court Interpreters Act, and payment for such services is not funded

from the general authorization for contract court interpreting.").

Instead, it is the responsibility of defendant's counsel to obtain an

interpreter to translate relevant portions of the indictment to his client, if

such a translation is truly necessary for adequate representation.        See


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United States v. Pimentel, 459 F. Supp. 923, 927 (D.C.N.Y. 1978) ("this

Court sees no need, nor has any inclination, to . . . require translation of

the entire indictment"); see also 18 U.S.C. § 3006A(e). Consequently,

Ramirez' request to have the indictment translated is DENIED.

     SO ORDERED this              day of March, 2013.



                                         UNITEV STATES MAGISTRATE JUDGE
                                         SOUTHERN DISTRICT OF GEORGIA




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